                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-217

                                        No. COA20-291

                                      Filed 18 May 2021

     Cabarrus County, Nos. 18 CRS 144, 18 CRS 50264

     STATE OF NORTH CAROLINA

                  v.

     ANTWAN BERNARD PARKER, Defendant.


           Appeal by Defendant from judgment entered 8 October 2019 by Judge Anna

     M. Wagoner in Cabarrus County Superior Court. Heard in the Court of Appeals 9

     February 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General James M.
           Wilson, for the State.

           Sharon L. Smith for the Defendant.


           JACKSON, Judge.


¶1         The issues in this case are (1) whether the trial court properly denied

     Defendant Antwan Bernard Parker’s (“Defendant”) motion to suppress after

     determining that the search of his vehicle was supported by probable cause; and (2)

     whether the trial court properly instructed the jury regarding the nature of two

     controlled substances that Defendant was found to possess. Because we conclude

     that the trial court committed no error, we affirm the denial of the motion to suppress
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     and discern no error in the judgment entered upon Defendant’s convictions.

                       I.      Factual and Procedural Background

¶2         On 15 January 2018, Officer Tony Peeler of the Kannapolis Police Department

     was running a seatbelt initiative on South Main Street when he noticed that the

     driver of a southbound Lincoln Town Car was not wearing a seatbelt. Upon pulling

     over the car, he observed Defendant in the driver’s seat and passenger Billy Ray Neal

     in the front passenger seat.     Officer Peeler asked for Defendant’s license and

     registration, and while speaking with Defendant he began to notice the odor of burnt

     marijuana emanating from the vehicle. He also saw a large amount of cash scattered

     across Defendant’s lap.

¶3         Based on the smell of marijuana, Officer Peeler returned to his patrol car to

     request backup to search the vehicle. Once two other officers had arrived, Officer

     Peeler re-approached the vehicle and told Defendant and Mr. Neal that he could smell

     the odor of marijuana coming from their car. Officer Peeler advised them that if they

     handed over everything they had, he would simply issue a citation for the possession

     of marijuana and Defendant and Mr. Neal would be released. In response, Mr. Neal

     admitted that he had “smoked a marijuana joint earlier” and pulled an object out of

     his sock, which Officer Peeler recognized to be a partially smoked marijuana

     cigarette.

¶4         Officer Peeler then asked Defendant and Mr. Neal to step out of the vehicle so
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     he could perform a search, and they complied. The officers observed that Defendant

     appeared to be “fidgety” and “nervous” during the search. In the vehicle’s center

     console, Officer Peeler found two black digital scales and a small round pill in a plastic

     bag. In a compartment on the driver’s side door, Officer Peeler found an open pack

     of cigarillos containing a plastic bag with a green leafy substance that he believed to

     be marijuana. In a cup holder, Officer Peeler found a cloth containing two gray, rock-

     like substances that he believed to be narcotics. Officer Peeler subsequently placed

     Defendant under arrest. When asked about the substances, Defendant stated that

     he did now know what any of it was. Defendant was subsequently charged with two

     counts of felony possession of a Schedule I Controlled Substance.

¶5         Prior to trial, Defendant filed a motion to suppress the evidence gathered from

     the search of his vehicle, wherein he argued that Officer Peeler lacked probable cause

     to search the vehicle based solely on the smell of marijuana—arguing that the odor

     of burnt marijuana is indistinguishable from the odor of legal burnt hemp. A hearing

     was held on the motion to suppress on 25 September 2019 in Cabarrus County

     Superior Court.

¶6         At the suppression hearing, Defendant submitted to the court a memo

     published by the North Carolina State Bureau of Investigation (“SBI”) discussing the

     similarities between marijuana and legal hemp. When cross-examined about the

     memo, Officer Peeler testified that he was aware that hemp had been recently
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     legalized in North Carolina, but that he had not received any training on identifying

     hemp. Officer Peeler testified that he was not aware that the odor of burnt hemp was

     similar to the odor of burnt marijuana.

¶7         However, Officer Peeler also testified that based on his fourteen years of law

     enforcement experience—during which he had made approximately 50-60 marijuana-

     related arrests—he believed the odor which he smelled (and the substance handed to

     him by Mr. Neal) to be marijuana. The trial court ultimately denied Defendant’s

     motion to suppress, determining that Officer Peeler “had reasonable suspicion . . . to

     find that it was the odor of burned marijuana” based on his training and experience

     and based on Mr. Neal’s admission that he had just smoked marijuana.

¶8         Following the suppression hearing, the Honorable Anna M. Wagoner presided

     over a one-day jury trial held on 7 October 2019 in Cabarrus County Superior Court.

     During trial, Adam Lewis of the SBI testified for the State as an expert in the forensic

     chemistry of controlled substances. Mr. Lewis identified the gray rock-like substance

     as 4.49 grams of Cyclopropylfentanyl—a fentanyl derivative compound. He stated

     that Cyclopropylfentanyl is a Schedule I controlled substance under Chapter 90 of

     the North Carolina General Statutes.           Mr. Lewis identified the pill as N-

     ethylpentylone—a chemical compound similar to “bath salts,” which is also included

     as a Schedule I controlled substance under Chapter 90.

¶9         During the charge conference, Defendant submitted written requests for two
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       special jury instructions. The requested instructions read, in pertinent part, as

       follows:

                    Special Jury Instruction on Knowing Possession of
                    Cyclopropyl Fentanyl

                    . . . For you to find the defendant guilty of this offense, the
                    State must prove beyond a reasonable doubt that the
                    defendant knowingly possessed Cyclopropyl Fentanyl and
                    that the defendant knew that what he possessed was
                    Cyclopropyl Fentanyl. Cyclopropyl Fentanyl may be, but
                    you are not required to find that it is, a controlled
                    substance.

                    Special Jury Instruction on Knowing Possession of
                    N-Ethylpentylone

                    . . . For you to find the defendant guilty of this offense, the
                    State must prove beyond a reasonable doubt that the
                    defendant knowingly possessed N-Ethylpentylone and that
                    the defendant knew that what he possessed was N-
                    Ethylpentylone. N-Ethylpentylone may be, but you are not
                    required to find that it is, a controlled substance.


¶ 10         The trial court declined to give either of Defendant’s requested jury

       instructions, instead instructing the jury, in pertinent part, that:

                    The defendant has been charged with possessing
                    cyclopropylfentanyl, a controlled substance. For you to find
                    the defendant guilty of this offense, the State must prove,
                    beyond a reasonable doubt, that the defendant knowingly
                    possessed cyclopropylfentanyl and cyclopropylfentanyl is a
                    controlled substance.

                    ...
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                    With regard to count two, the defendant has been charged
                    with possessing N-ethylpentylone, a controlled substance.
                    For you to find the defendant guilty of this offense, the
                    State must prove, beyond a reasonable doubt, that the
                    defendant knowingly possessed N-ethylpentylone. N-
                    ethylpentylone is a controlled substance.

¶ 11         The jury ultimately found Defendant guilty of both counts of felony possession

       of a controlled substance, and Defendant also pleaded guilty to attaining habitual

       felon status. He was sentenced to a consolidated active sentence of 43 to 64 months.

       Defendant gave notice of appeal in open court on 8 October 2019.

                                        II.    Analysis

¶ 12         Defendant raises two primary arguments on appeal, asserting that the trial

       court erred by: (1) denying his motion to suppress the evidence gathered from the

       search of his car; and (2) denying his requested jury instructions regarding the

       substances found in his car. Because we believe that the trial court committed no

       error, we affirm the denial of the motion to suppress and discern no error in the

       judgment entered upon Defendant’s convictions.

       A. Denial of the Motion to Suppress

¶ 13         Defendant first challenges the trial court’s denial of his motion to suppress

       evidence, arguing that the trial court erred by: (1) failing to memorialize its ruling

       in a written order; (2) failing to address the material issue of the indistinguishable

       scents of marijuana and legal hemp; (3) relying on Mr. Neal’s statements to support

       its finding of probable cause; and (4) failing to show that probable cause existed
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       particularized to Defendant, as opposed to Mr. Neal. In response, the State argues

       that Defendant has not adequately preserved the denial of the motion to suppress for

       our review, and that in any event the trial court’s order contained no error because

       Officer Peeler possessed probable cause to search the vehicle. We affirm the trial

       court’s order.

          1. Preservation

¶ 14         The first issue before us is whether Defendant has adequately preserved for

       appellate review the issues raised in his motion to suppress—i.e., the admissibility of

       the evidence gathered during Officer Peeler’s search of the vehicle.        Defendant

       contends that because he raised an admissibility objection prior to Officer Peeler’s

       testimony, this issue has been preserved, and we should review to determine whether

       the denial of the objection was reversible error. The State contends that because

       Defendant failed to renew his admissibility objection during Officer Peeler’s trial

       testimony, plain error review should apply.

¶ 15         “To preserve an issue for appeal, the defendant must make an objection at the

       point during the trial when the State attempts to introduce the evidence. A defendant

       cannot rely on his pretrial motion to suppress to preserve an issue for appeal. His

       objection must be renewed at trial.” State v. Golphin, 352 N.C. 364, 463, 533 S.E.2d

       168, 232 (2000) (internal marks and citations omitted).

¶ 16         Here, defense counsel explained to the trial court prior to trial that she would
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       have to object when the State introduced at trial evidence regarding the search. The

       court replied, “For the record that’s fine.” When Officer Peeler began to testify about

       the search of Defendant’s car, defense counsel stated, “I’m going to object at this point,

       your Honor.” The court replied, “Overruled at this point, for the record.” We hold

       that Defendant’s objection was properly preserved and that harmless error review

       should be applied. See State v. Russell, 92 N.C. App. 639, 644-45, 376 S.E.2d 458,

       461-62 (1989) (conducting a harmless error review of the denial of a defendant’s

       motion to suppress).

          2. Merits of the Trial Court’s Denial of the Motion to Suppress

¶ 17         We next address whether the trial court’s failure to issue a written order

       memorializing its denial of the motion to suppress was error, and whether the trial

       court correctly determined that the search of Defendant’s vehicle was supported by

       probable cause. We hold that no written order was required and that the trial court’s

       probable cause analysis was correct.

             a. Failure to Issue a Written Order

¶ 18         Defendant argues that the trial court committed reversible error by denying

       his motion to suppress without a written order explaining its findings of fact and

       conclusions of law. Defendant is correct that when ruling on a motion to suppress,

       typically “[t]he judge must set forth in the record his findings of facts and conclusions

       of law.” N.C. Gen. Stat. § 15A-977(f) (2019). However, under this statute, our
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       Supreme Court has held that “[a] written determination setting forth the findings

       and conclusions is not necessary, but it is the better practice.” State v. Bartlett, 368

       N.C. 309, 312, 776 S.E.2d 672, 674 (2015). Express findings of facts are required

       “only when there is a material conflict in the evidence,” and the trial court is

       permitted to make its findings “either orally or in writing.” Id. In other words, “[i]f

       the trial court provides the rationale for its ruling from the bench and there are no

       material conflicts in the evidence, the court is not required to enter a written order.”

       State v. Wainwright, 240 N.C. App. 77, 83, 770 S.E.2d 99, 104 (2015).

¶ 19         Here, the trial court issued only an oral ruling denying Defendant’s motion to

       suppress:

                    At this point I’m going to deny your motion to suppress. At
                    this point I do obviously agree that [Officer Peeler] had
                    reasonable suspicion and I’m going to find that it was the
                    odor of burned marijuana and with the passenger
                    admitting that he had just smoked some marijuana, that
                    that did give the officer probable cause to search the
                    automobile.

¶ 20         We thus begin our analysis by addressing whether there was a material

       conflict in the evidence before the trial court. We have previously held that “for

       purposes of section 15A-977(f), a material conflict in the evidence exists when

       evidence presented by one party controverts evidence presented by an opposing party

       such that the outcome of the matter to be decided is likely to be affected.” State v.

       Baker, 208 N.C. App. 376, 384, 702 S.E.2d 825, 831 (2010).
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¶ 21            For example, in Baker we held that a material conflict existed because “both

       the State and defendant presented evidence at the suppression hearing,” and because

       the defendant and the arresting officer gave conflicting testimony regarding key

       factual issues (such as the defendant’s location on the roadway when he was pulled

       over, the number of officers present during the arrest, and at what point the officers

       activated their lights and sirens). Id. at 384-87, 702 S.E.2d at 831-33. In contrast,

       in State v. Jacobs, 174 N.C. App. 1, 620 S.E.2d 204 (2005), rev'd and vacated in part

       on other grounds, 361 N.C. 565, 648 S.E.2d 841 (2007), we held that no material

       conflict existed because the only evidence presented during the suppression hearing

       consisted of the undisputed testimony of law enforcement officers, and the defendant

       offered no evidence of his own (though he did briefly cross-examine the officers). Id.

       at 8-10, 620 S.E.2d at 209-10.

¶ 22            Here, at the suppression hearing the only factual evidence presented was the

       testimony of Officer Peeler, who described his interactions with Defendant on the day

       of the traffic stop.   Defendant appears to argue that a material conflict existed

       because of the SBI memo that he introduced at the hearing (which discussed the

       similarities between legal hemp and marijuana), asserting that this memo introduced

       a conflict regarding whether the odor of marijuana was sufficient to support probable

       cause.

¶ 23            We disagree. Although the memo did perhaps call into question the State’s
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       legal theory regarding whether Officer Peeler’s perception of the scent of marijuana

       provided probable cause to search the vehicle, this conflict was not a material issue

       of fact. Thus, because (1) Defendant introduced no evidence creating a material

       conflict in the evidence supporting the probable cause determination; and (2) the trial

       court issued a ruling from the bench to explain its rationale, we hold that the trial

       court was not required to enter a written order when denying Defendant’s motion to

       suppress.

             b. Probable Cause

¶ 24         We turn next to whether the trial court’s order correctly determined that the

       search of Defendant’s vehicle was supported by probable cause. When reviewing a

       trial court’s ruling on a motion to suppress, we review the trial court’s findings of fact

       to determine whether they “are supported by competent evidence” and then review

       “whether those factual findings in turn support the judge’s ultimate conclusions of

       law.” State v. Johnston, 115 N.C. App. 711, 713, 446 S.E.2d 135, 137 (1994) (internal

       marks and citations omitted). “An appellate court accords great deference to the trial

       court’s ruling on a motion to suppress because the trial court is entrusted with the

       duty to hear testimony (thereby observing the demeanor of the witnesses) and to

       weigh and resolve any conflicts in the evidence.” Id.
¶ 25         “The Fourth Amendment of the United States Constitution and Article 1,

       Section 20 of the North Carolina Constitution prohibit unreasonable searches and
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       seizures.” State v. Downing, 169 N.C. App. 790, 794, 613 S.E.2d 35, 38 (2005).

       Typically, a warrant is required to conduct a search unless a specific exception

       applies. State v. Cline, 205 N.C. App. 676, 679, 696 S.E.2d 554, 556 (2010). For

       example, the motor vehicle exception provides that the “search of a vehicle on a public

       roadway or public vehicular area is properly conducted without a warrant as long as

       probable cause exists for the search.” State v. Earhart, 134 N.C. App. 130, 133, 516

       S.E.2d 883, 886 (1999). Probable cause is generally defined as “a reasonable ground

       of suspicion, supported by circumstances sufficiently strong in themselves to warrant

       a cautious man in believing the accused to be guilty” of an unlawful act. State v.

       Yates, 162 N.C. App. 118, 122, 589 S.E.2d 902, 904 (2004) (internal marks and citation

       omitted). In the context of the motor vehicle exception,

                    [a] police officer in the exercise of his duties may search an
                    automobile without a search warrant when the existing
                    facts and circumstances are sufficient to support a
                    reasonable belief that the automobile carries contraband
                    materials. If probable cause justifies the search of a
                    lawfully stopped vehicle, it justifies the search of every part
                    of the vehicle and its contents that may conceal the object
                    of the search.

       State v. Degraphenreed, 261 N.C. App. 235, 241, 820 S.E.2d 331, 336 (2018) (internal

       marks and citations omitted).

¶ 26         Defendant first argues that the search of his vehicle was unsupported by

       probable cause because Officer Peeler’s impression of the scent of marijuana was
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       insufficient to support a reasonable belief that the car contained contraband—given

       that the odor of burnt hemp and marijuana are indistinguishable. In support of this

       argument, Defendant relies on the SBI memo which he submitted during the

       suppression hearing.

¶ 27           As explained in the SBI memo, in 2015 North Carolina enacted the Industrial

       Hemp Act, which legalized the cultivation, processing, and sale of industrial hemp

       within the state, subject to the oversight of the North Carolina Industrial Hemp

       Commission.     See S.L. 2015-299; N.C. Gen. Stat. § 106-568.50 (2019), et seq.

       Industrial hemp is a variety of the species Cannabis Sativa—the same species of plant

       as marijuana. The difference between the two substances is that industrial hemp

       contains very low levels of tetrahydrocannabinol (“THC”), which is the psychoactive

       ingredient in marijuana.     See N.C. Gen. Stat. § 106-568.51(7) (2019) (defining

       industrial hemp as any variety of the cannabis plant which contains less than 0.3%

       THC).

¶ 28           According to the SBI memo, the legalization of hemp poses some novel issues

       for law enforcement, as “[t]here is no easy way for law enforcement to distinguish

       between industrial hemp and marijuana” and “[t]here is currently no field test which
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       distinguishes” between the two substances.1 The memo further explains as follows:

                     Hemp and marijuana look the same and have the same
                     odor, both unburned and burned. This makes it impossible
                     for law enforcement to use the appearance of marijuana or
                     the odor of marijuana to develop probable cause for arrest,
                     seizure of the item, or probable cause for a search warrant.

                     ...

                     [W]hen a law enforcement officer encounters plant
                     material that looks and smells like marijuana, he/she will
                     no longer have probable cause to seize and analyze the item
                     because the probable cause to believe it is evidence of a
                     crime will no longer exist since the item could be legal
                     hemp. Police narcotics K9’s cannot tell the difference
                     between hemp and marijuana because the K9’s are trained
                     to detect THC which is present in both plants. Law
                     enforcement officers cannot distinguish between
                     paraphernalia     used    to   smoke     marijuana      and
                     paraphernalia used to smoke hemp for the same reasons.

                     The inability for law enforcement to distinguish the
                     difference between hemp and marijuana is problematic in
                     all marijuana prosecutions[.] There is at least once District
                     Attorney’s Office in NC which is currently not prosecuting
                     marijuana cases due to the inability of law enforcement to
                     distinguish the difference between hemp and marijuana.

¶ 29          The legal issues raised by the recent legalization of hemp have yet to be



              1 The memo was published by the SBI in 2019 in response to then-pending Senate Bill

       315—legislation which sought to clarify whether the possession of hemp is also legal within
       the state. S.B. 315 was eventually signed by the Governor and enacted on 12 June 2020,
       though the final version of the law did not clarify the legality of hemp possession. The memo
       is available for viewing at Industrial Hemp/CBD Issues, State Bureau of Investigations,
       https://www.sog.unc.edu/sites/www.sog.unc.edu/files/doc_warehouse/NC%20SBI%20-
       %20Issues%20with%20Hemp%20and%20CBD%20Full.pdf.
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       analyzed by the appellate courts of this state. As the State correctly notes, prior to

       the legalization of hemp, our courts have typically held that the odor of marijuana

       standing alone is sufficient to support probable cause to search a vehicle. See, e.g.,

       State v. Mitchell, 224 N.C. App. 171, 175, 735 S.E.2d 438, 442 (2012) (“[T]he odor of

       marijuana alone is sufficient to constitute probable cause.”). Our courts have also

       previously held that police officers are entitled to identify marijuana based on a

       simple visual inspection. See, e.g., State v. Fletcher, 92 N.C. App. 50, 56-57, 373

       S.E.2d 681, 685-86 (1988) (holding that a police officer’s visual identification of a

       substance as marijuana provided a sufficient basis for conviction of a marijuana

       offense).

¶ 30          Defendant’s appeal raises the possibility that these holdings may need to be

       re-examined. If the scent of marijuana no longer conclusively indicates the presence

       of an illegal drug (given that legal hemp and illegal marijuana apparently smell the

       same), then the scent of marijuana may be insufficient to show probable cause to

       perform a search. Likewise, if the sight of marijuana no longer conclusively identifies

       the presence of an illegal drug (given that legal hemp plants and illegal marijuana

       plants look identical), then a police officer may not be able to rely on a visual

       identification of marijuana alone to support probable cause.

¶ 31          However, in the case before us today we need not determine whether the scent

       or visual identification of marijuana alone remains sufficient to grant an officer
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       probable cause to search a vehicle. That is because in this case Officer Peeler had

       more than just the scent of marijuana to indicate that illegal drugs might be present

       in the car. Officer Peeler testified that he first began to develop a suspicion of illegal

       activity upon noticing the scent of burnt marijuana while speaking with Defendant

       and Mr. Neal at the traffic stop. Officer Peeler then asked Defendant and Mr. Neal

       whether there was any marijuana in the vehicle, and Mr. Neal “advised [that] he

       smoked a marijuana joint earlier” and then “reached into his left sock and pulled out

       a partially smoked marijuana joint.”

¶ 32         Thus, there were three pieces of evidence supporting Officer Peeler’s probable

       cause to search Defendant’s vehicle: (1) the scent of what Officer Peeler believed to

       be burnt marijuana emanating from the vehicle; (2) Mr. Neal’s admission that he had

       just smoked marijuana; and (3) the partially smoked marijuana cigarette which Mr.

       Neal produced from his sock. We are satisfied that these three factors combined were

       sufficient to provide probable cause to search the vehicle. As we have previously held,

       a person’s admission of a crime to law enforcement is typically sufficient to support a

       finding of probable cause:

                    People do not lightly admit a crime and place critical
                    evidence in the hands of the police in the form of their own
                    admissions. Admissions of crime . . . carry their own indicia
                    of credibility—sufficient at least to support a finding of
                    probable cause to search.

       State v. Arrington, 311 N.C. 633, 641, 319 S.E.2d 254, 259 (1984) (quoting United
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       States v. Harris, 403 U.S. 573, 583 (1971)).             Under this standard, Mr. Neal’s

       admission to having just smoked marijuana carried its own indicia of credibility, and

       this admission (combined with the physical evidence that Mr. Neal produced from his

       sock) led Officer Peeler to reasonably believe that the vehicle would contain

       contraband materials.2

¶ 33          Finally, Officer Peeler’s own subjective belief that the substance he smelled

       was marijuana was additional evidence supporting probable cause—even if his belief

       might ultimately have been mistaken. As the United States Supreme Court has

       recognized,

                     [t]he Fourth Amendment prohibits unreasonable searches
                     and seizures. Under this standard, a search or seizure may
                     be permissible even though the justification for the action
                     includes a reasonable factual mistake. An officer might,
                     for example, stop a motorist for traveling alone in a high-
                     occupancy vehicle lane, only to discover upon approaching
                     the car that two children are slumped over asleep in the
                     back seat. The driver has not violated the law, but neither
                     has the officer violated the Fourth Amendment.

                     ...


              2 Though Defendant raised several potentially meritorious objections to the admission

       of Mr. Neal’s statements at the suppression hearing, Defendant has abandoned these issues
       by failing to discuss them in his appellate brief. See N.C. R. App. P. 28(a) (“The scope of
       review on appeal is limited to issues so presented in the [parties’] several briefs. Issues not
       presented and discussed in a party’s brief are deemed abandoned.”); see also Thompson v.
       Bass, 261 N.C. App. 285, 292, 819 S.E.2d 621, 627 (2018) (“[I]t is the appellant’s burden to
       show error occurring at the trial court, and it is not the role of this Court to create an appeal
       for an appellant or to supplement an appellant’s brief with legal authority or arguments not
       contained therein.”).
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                    To be reasonable is not to be perfect, and so the Fourth
                    Amendment allows for some mistakes on the part of
                    government officials, giving them fair leeway for enforcing
                    the law in the community’s protection . . . . The limit is
                    that the mistakes must be those of reasonable men.

       Heien v. North Carolina, 574 U.S. 54, 57-61 (2014) (internal marks and citations

       omitted).

¶ 34         In his final challenge to the suppression ruling, Defendant contends that the

       search of his car was unlawful because the evidence failed to establish probable cause

       particularized to Defendant, as opposed to Mr. Neal. Defendant cites a case from the

       United States Court of Appeals for the Fourth Circuit in support of his assertion that

       “the presence of marijuana does not of itself authorize the police either to search any

       place or to arrest any person in the vicinity,” absent particularized evidence of who

       the marijuana belongs to. See United States v. Humphries, 372 F.3d 653, 659 (4th

       Cir. 2004). This argument is unavailing, as this Court is not bound by law from

       federal circuit courts. See State v. Anderson, 254 N.C. App. 765, 774, 804 S.E.2d 189,

       195 (2017) (“[O]rdinarily, this Court is not bound by the rulings of the United States

       Circuit Courts nor the rulings of other federal courts.”) (internal marks and citation

       omitted).

¶ 35         In contrast, under North Carolina law, “[i]f probable cause justifies the search

       of a lawfully stopped vehicle, it justifies the search of every part of the vehicle and its

       contents that may conceal the object of the search.” Degraphenreed, 261 N.C. App. at
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       241, 820 S.E.2d at 336 (2018) (quoting United States v. Ross, 456 U.S. 798, 825
       (1982)).   Accordingly, because here Officer Peeler’s observations and Mr. Neal’s

       admission provided probable cause to search Defendant’s vehicle, Officer Peeler was

       legally entitled to search every part of the vehicle for the presence of marijuana.

       Defendant’s arguments are thus overruled, and we affirm the trial court’s denial of

       the motion to suppress.

       B. Jury Instructions

¶ 36         Defendant next claims that the trial court erred by denying his requested

       special jury instructions regarding the possession of the two allegedly controlled

       substances—Cyclopropylfentanyl and N-ethylpentylone. He further contends that

       the instructions that were ultimately provided by the trial court were erroneous in

       two respects. First, he asserts that the trial court erred by expressly informing the

       jury that these two drugs were controlled substances—rather than letting the jury

       decide the matter on their own—as this relieved the State of its burden of proof on a

       disputed factual issue and invaded the province of the jury as fact-finder. Second, he

       argues that the trial court committed a similar error by failing to inform the jury that

       a defendant must be aware of the identity of the substances he possessed in order to

       be found guilty. We disagree, and find no error in the trial court’s jury instructions.

          1. Preservation

¶ 37         The State once again begins by arguing that the jury instructions issue has not
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       been properly preserved for appellate review, and that plain error review should

       apply. Defendant disagrees, contending that because he did raise an objection to the

       jury instructions during a conference with the trial court, we should review this issue

       to determine whether any error committed by the trial court was harmless beyond a

       reasonable doubt. We agree with Defendant.

¶ 38         During the charge conference, Defendant presented his two proposed special

       jury instructions, and explained why these special instructions were more

       appropriate than the pattern jury instructions. Defendant’s written request for the

       special jury instructions was, in and of itself, sufficient to preserve his challenge for

       appeal. See Kinsey v. Spann, 139 N.C. App. 370, 373, 533 S.E.2d 487, 490 (2000)

       (“[When] a party submits a written request for instructions during the charge

       conference, that party need not object to the instructions as read in order to properly

       preserve his appeal as to those instructions.”).

¶ 39         Moreover, defense counsel generally explained her reasoning for the two

       requested instructions:

                    [Defense Counsel]: On the pattern [instruction], the
                    recommended change is to add [the footnote text] to the end
                    of the first sentence of the second paragraph. So where it
                    says in the pattern jury instruction, “For you to find the
                    defendant guilty of this offense, the State must prove
                    beyond a reasonable doubt that the defendant knowingly
                    possessed,” in this case cyclopropylfentanyl, and then the
                    footnote suggests to add the language there, which I do
                    propose, and “that the defendant knew that what he
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                    possessed was cyclopropylfentanyl.”         That’s the first
                    suggested change.

                    The second suggested change is somewhat unusual, but in
                    this specific case, neither of these substances are on the
                    schedule. So it’s the defense position that the State has to
                    prove that they are controlled substances. So it would be
                    our contention that the language should be
                    “cyclopropylfentanyl may be but the jury is not required to
                    find that it is a controlled substance.”

¶ 40         The following exchange then occurred with regard to the second issue—the

       identity of the controlled substance:

                    [Prosecutor]: So, the State would object to any type of
                    reference in the jury instruction . . . [to the language]
                    “cyclopropylfentanyl may be but you are not required to
                    find that it is a controlled substance.” . . . I mean, that’s
                    not for the jury to determine.

                    [Trial Court]:    Okay. I think I’m going to deny your
                    request.

                    [Defense Counsel]: And Your Honor, with respect to
                    that, I do believe, based on recent case law, I have to
                    request that instruction. I’m not conceding –

                    [Trial Court]: Okay. I will note your objection to my
                    denial for giving it.

¶ 41         We hold that this exchange demonstrates that the first issue—the jury

       instructions on the identity of the controlled substance—was properly preserved.

       Defense counsel explained in detail her reasoning for requesting this special

       instruction on the identity of the controlled substance, the prosecutor explained why

       he opposed this instruction, and the trial court ultimately denied it. Defense counsel
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       then stated that she was “not conceding” the issue, and the trial court, “note[d]” her

       objection to the denial. This is sufficient to preserve this issue for purposes of Rule

       10(a)(2).

¶ 42          With regard to the other issue—the knowing possession issue—the following

       exchange occurred:

                    [Trial Court]: And then the other thing was –

                    [Prosecutor]: That he knew that he possessed the
                    cyclopropylfentanyl?

                    [Trial Court]: Well, that he knew it was . . . . [Defense
                    counsel] wants me to give an instruction saying that he had
                    to know what it was he possessed.

                    [Defense Counsel]: Correct, which is indicated in the
                    footnote, and the case references State v. Boone, correct.
                    And the testimony has been pretty consistent that he
                    always said he didn’t know what it was.

                    ...

                    [Trial Court]: I am going to decline to give it, but you may
                    argue . . . that it was not knowingly, that he didn’t know
                    what it was or whatever, but I just will not give that
                    portion.

                    [Defense Counsel]: And I understand, but again, it’s the
                    State’s burden to prove that to both parts of that element.

                    [Trial Court]: Yes. Okay. Anything else?

                    [Prosecutor]: Well, just so I’m clear. So, are you allowing
                    defense counsel to argue that the defendant did not know
                    that he was possessing a scheduled controlled substance?

                    [Trial Court]: She can argue that if she wants to . . . [S]he
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                    can say even if he possessed it, the law says it has to be
                    knowingly, and we contend it’s not knowingly.

                    [Defense Counsel]: And that is a correct statement of the
                    law.

                    [Prosecutor]:     Well, but I think the more correct
                    statement of the law is that the possession is knowingly
                    possessed, not knowingly possessed that substance.

                    [Trial Court]: Well, knowingly possessed a controlled –
                    knowingly modifies possessed.

                    [Prosecutor]: Correct.

                    [Trial Court]: Yes, but we’re not saying knowingly
                    possessed this gavel. I mean, you have to know what it is
                    you’re possessing.

                    [Defense Counsel]: And the courts have consistently said
                    that knowingly applies to that as well.

                    [The Court]: I’m going to allow her to argue that, and I’ll
                    note your objection to it.

¶ 43         This exchange demonstrates that the second issue—the knowing possession

       issue—was also properly preserved. After defense counsel explained her reasoning

       for requesting the knowing possession instruction, the trial court responded that it

       would not give the instruction, but nevertheless would allow her to argue this issue

       to the jury. The prosecutor then sought to clarify what exactly the court was allowing

       defense counsel to argue to the jury, and noted that he thought defense counsel’s

       argument was an incorrect statement of law.           The court finally reiterated that

       nevertheless it would “allow her to argue that” and “note your objection to it.”
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¶ 44         The State argues that this exchange was ambiguous, and could have meant

       that the trial court was simply noting the prosecutor’s objection to the court’s decision

       to allow defense counsel to argue the knowing possession issue to the jury.

       Defendant, however, argues that this exchange represented the trial court noting

       defense counsel’s objection to the denial of her earlier requested jury instruction. We

       agree with Defendant on this point—the objection which the trial court “noted” was

       defense counsel’s objection to the jury instructions.     The trial court’s “note your

       objection to it” statement mirrors the language the trial court used to deny defense

       counsel’s first objection to the earlier controlled substance instruction. Though it is

       true that defense counsel could have perhaps used clearer language in making her

       objection, as we have previously held “[t]he fact that counsel did not say the words ‘I

       object’ is not reason to deny appellate review” when counsel’s intention was clear from

       the context. State v. Rowe, 231 N.C. App. 462, 470, 752 S.E.2d 223, 228 (2013).

¶ 45         We therefore hold that Defendant has preserved both of his jury instruction

       arguments for appellate review and that harmless error review is appropriate. See

       State v. Steen, 376 N.C. 469, 487, 852 S.E.2d 14, 26 (2020) (“[W]e evaluate the

       prejudicial effect of the delivery of [an erroneous] instruction using our traditional

       harmless error standard, which requires the defendant to show a reasonable

       possibility that, had the error in question not been committed, a different result

       would have been reached at the trial out of which the appeal arises.”) (internal marks
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       and citation omitted).

          2. Merits of the Requested Jury Instructions

¶ 46         Defendant raises a two-fold challenge, arguing both that the trial court erred

       by failing to give his requested special jury instructions, and that the instructions

       which the court did provide misstated the applicable law. In general, when a party

       requests a special jury instruction, a trial court “must give [the] requested instruction

       that is supported by both the law and the facts.” State v. Nicholson, 355 N.C. 1, 67,

       558 S.E.2d 109, 152 (2002). If the requested jury instruction contains no errors, the

       trial court should give the instruction to the jury “in substance”—though there is no

       requirement that the court use “the exact language requested” by the defendant. Id.
       However, if the requested jury instruction contains any errors of fact or law, the trial

       court acts properly in refusing it. State v. Shepherd, 156 N.C. App. 603, 609, 577

       S.E.2d 341, 345 (2003).

¶ 47         As for Defendant’s challenge to the jury instructions that were ultimately

       utilized by the trial court, we conduct a de novo review. See State v. Osorio, 196 N.C.

       App. 458, 466, 675 S.E.2d 144, 149 (2009) (“Assignments of error challenging the trial

       court’s decisions regarding jury instructions are reviewed de novo by this Court.”).

       However, we are also mindful that “[i]nstructions that as a whole present the law

       fairly and accurately to the jury will be upheld,” and that “one isolated piece that

       might be considered improper or wrong on its own will not be found sufficient to
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       support reversal.” State v. Roache, 358 N.C. 243, 303-11, 595 S.E.2d 381, 419-24
       (2004).

             a. Identity of the Controlled Substances

¶ 48         We first address whether the trial court erroneously invaded the province of

       the jury by instructing the jury that Cyclopropylfentanyl and N-ethylpentylone were

       controlled substances.    Defendant requested the following special instructions

       regarding the two possession offenses:

                    For you to find the defendant guilty of this offense, the
                    State must prove beyond a reasonable doubt that the
                    defendant knowingly possessed [substance] and that the
                    defendant knew that what he possessed was [substance].
                    [Substance] may be, but you are not required to find that it
                    is, a controlled substance.

¶ 49         The trial court declined to give these instructions, instead instructing the jury

       in accordance with N.C.P.I.-Crim. 260.10 that:

                    [T]he defendant has been charged with possessing
                    [substance], a controlled substance. For you to find the
                    defendant guilty of this offense, the State must prove,
                    beyond a reasonable doubt, that the defendant knowingly
                    possessed [substance].      [Substance] is a controlled
                    substance.

¶ 50         Defendant argues that because Cyclopropylfentanyl and N-ethylpentylone are

       not specifically listed as named controlled substances under Schedule I, see N.C. Gen.

       Stat. § 90-89 (2019), their identity was a factual matter within the province of the

       jury. Though there was expert testimony tending to show these were controlled
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       substances, Defendant asserts that it was still up to the jury to either believe or

       disbelieve this expert testimony.

¶ 51         We find Defendant’s argument unavailing, and hold that the trial court

       properly denied Defendant’s request to allow the jury to determine whether or not

       Cyclopropylfentanyl and N-ethylpentylone were controlled substances. We reach this

       holding for two reasons: (1) the classification of Cyclopropylfentanyl and N-

       ethylpentylone was a legal issue within the province of the trial court; and (2) even if

       the classification of these substances was a factual issue, Defendant was not

       prejudiced because the undisputed evidence demonstrated that Cyclopropylfentanyl

       and N-ethylpentylone were controlled substances.

¶ 52         First, it is well-established that it is the province of the trial court to instruct

       the jury on matters of law, while the jury should be left free to reach its own

       conclusions on matters of fact. See State v. Cuthrell, 235 N.C. 173, 174, 69 S.E.2d

       233, 234 (1952). Whether a given substance is classified as a controlled substance

       under our criminal statutes is a legal issue that involves that application of legal

       reasoning. In North Carolina, the classification of controlled substances is governed

       by a “statutory framework” that “lists and categorizes various drugs, substances, and

       immediate precursors into six schedules.” State v. Williams, 242 N.C. App. 361, 365,

       774 S.E.2d 880, 884 (2015). Schedule I substances are those that “have been deemed

       to require the highest level of state regulations” and that have “a high potential for
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       abuse.” Id. Chapter 90-89 of our General Statutes lists all of the various Schedule I

       substances, by both their “chemical and trade names.” Id. However, the statute also

       contains a “catch-all” provision encompassing other Schedule I substances that are

       not specifically named therein. Id. This catch-all provision states that “[a] controlled

       substance analogue shall, to the extent intended for human consumption, be treated

       for the purposes of any State law as a controlled substance in Schedule I.” N.C. Gen.

       Stat. § 90-89.1 (2019).

¶ 53         Here, Defendant is correct that Cyclopropylfentanyl and N-ethylpentylone do

       not expressly appear among the listed controlled substances in N.C. Gen. Stat. § 90-

       89. However, the trial court did not err in concluding as a matter of law—and in

       thereby instructing the jury—that these substances nonetheless constituted

       Schedule I controlled substances.     The uncontroverted expert testimony at trial

       demonstrated that these substances were both controlled substance analogues fitting

       within the catch-all provision of Schedule I, with Cyclopropylfentanyl being a

       Schedule I fentanyl derivative and N-ethylpentylone being a Schedule I cathinone

       derivative.

¶ 54         Based on this undisputed evidence, we conclude that it was proper for the trial

       court to instruct the jury as a matter of law that these two substances were Schedule

       I controlled substances. See State v. Smith, 305 N.C. 691, 702-03, 292 S.E.2d 264,

       272 (1982) (holding that the trial court did not invade the province of the jury in a
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       murder case by informing them that “there was no evidence of any just cause or legal

       provocation to kill,” as this issue was “a matter of law, not of fact” and amounted to

       “little more than a summary of the pertinent evidence upon a particular aspect of the

       case”); see also State v. Morgan, 263 N.C. App. 711, 822 S.E.2d 909, 2019 WL 438575,

       at *6 (2019) (unpublished) (holding that there was sufficient evidence to demonstrate

       that ethylone—a substance not specifically listed under Schedule I—was a controlled

       substance where an expert chemist “testified, with no objection or opposing evidence

       submitted by defense counsel, that ethylone [was] . . . a known Schedule I controlled

       substance”).3

¶ 55          Moreover, even assuming arguendo that the trial court erred in instructing the

       jury that these were controlled substances, any such error was isolated and harmless.

       The uncontroverted record evidence demonstrated that Cyclopropylfentanyl and N-

       ethylpentylone were controlled substances. Adam Lewis of the SBI testified for the

       State as an expert in the forensic chemistry of controlled substances. Mr. Lewis

       identified the gray rock-like substance as 4.49 grams of Cyclopropylfentanyl—a

       fentanyl derivative compound. He stated that Cyclopropylfentanyl is a Schedule I

       controlled substance under Chapter 90 of the North Carolina General Statutes. Mr.



              3 We also note that the instruction provided to the jury corresponded with North
       Carolina Pattern Criminal Instruction 260.10—Possession of a Controlled Substance. “Use
       of the pattern instructions is encouraged.” State v. Garcell, 363 N.C. 10, 49, 678 S.E.2d 618,
       642 (2009).
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       Lewis identified the pill as N-ethylpentylone—a chemical compound similar to “bath

       salts,” which is also included as a Schedule I controlled substance under Chapter 90.

¶ 56         Defendant did not object to Mr. Lewis’ qualifications as an expert in the field

       of forensic chemistry of controlled substances, and Defendant offered no competing

       evidence to challenge Mr. Lewis’ conclusion that these substances were controlled

       substances. Indeed, in defense counsel’s closing argument, the defense expressly

       conceded that “[w]e’re not going to debate that . . . it was a schedule one controlled

       substance,” and that the defense “agree[d] for purposes of this argument that it was

       a controlled substance.”

¶ 57         Accordingly, given that there was no evidence presented to the jury to suggest

       that Mr. Lewis’ expert conclusions were incorrect, or to suggest that these substances

       were anything but controlled substances, defendant has failed to demonstrate any

       “reasonable possibility” that this alleged minor instructional error had any impact on

       the jury’s ultimate verdict. Steen, 376 N.C. at 487, 852 S.E.2d at 26. See also State

       v. Wells, 290 N.C. 485, 497, 226 S.E.2d 325, 333 (1976) (holding that the trial court’s

       factual instruction, “while erroneously invading the province of the jury, was not

       prejudicial” because all of the evidence supported this factual instruction and the

       defendant “never contended otherwise”).

             b. Knowing Possession

¶ 58         The final issue we must address is Defendant’s contention that the jury
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       instructions failed to properly instruct the jury on the “knowing” element of the

       offense. To sustain a conviction for felony possession of a controlled substance, “the

       substance must be possessed and the substance must be knowingly possessed.” State

       v. Weldon, 314 N.C. 401, 403, 333 S.E.2d 701, 702 (1985) (citation omitted).

       Defendant argues that here, because he denied knowing the identity of the

       substances that were found in his vehicle, he was entitled to a jury instruction

       informing the jury that he must have known that what he possessed was a controlled

       substance to be found guilty. Specifically, Defendant contends that the trial court

       should have instructed the jury in accord with Footnote 2 of the pattern jury

       instruction, which provides that:

                    If the defendant contends that the defendant did not know
                    the true identity of what defendant possessed, add this
                    language to the first sentence [of the instructions]: “and the
                    defendant knew that what the defendant possessed was
                    (name substance). S. v. Boone, 310 N.C. 284, 291 (1984).”

       N.C. P.I. Crime 260.10.

¶ 59         We disagree and find no error in this aspect of the jury instructions. Our

       Supreme Court has held that when a defendant denies knowing the identity of a

       controlled substance that he was found to possess, the issue of the defendant’s

       knowledge becomes “a determinative issue of fact” about which the trial court should

       instruct the jury. State v. Boone, 310 N.C. 284, 294, 311 S.E.2d 552, 559 (1984),

       superseded by statute on other grounds as recognized in State v. Oates, 366 N.C. 264,
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       267, 732 S.E.2d 571, 573-74 (2012).

¶ 60         This principle was recently explored in depth in State v. Galaviz-Torres, 368

       N.C. 44, 772 S.E.2d 434 (2015). There, the defendant was convicted of trafficking in

       cocaine after 400 grams of cocaine were found in a gift bag on the floor of his van. Id.

       at 45-46, 772 S.E.2d at 435. However, he maintained that “he did not know that the

       van contained cocaine, and that the cocaine seized from the van did not belong to

       him.” Id. at 46, 772 S.E.2d at 435. On appeal, the defendant argued that the trial

       court erred by failing to provide the jury with the footnote pattern jury instruction

       regarding knowing possession of a controlled substance4—asserting that the issue of

       his knowing possession was a material factual issue that should be decided by the

       jury. Id. at 48, 772 S.E.2d at 436-37.

¶ 61         The Supreme Court first explained that while knowing possession is an

       element that typically may be implied from the circumstances of the crime,

                    when a defendant denies having knowledge of the
                    controlled substances that he has been charged with
                    possessing or transporting, the existence of the requisite
                    guilty knowledge becomes a determinative issue of fact
                    about which the trial court must instruct the jury. As a
                    result, given that defendant denied having knowingly
                    possessed the cocaine found in the van that he was driving,
                    the ultimate issue raised by [this case] is whether the trial
                    court’s instructions . . . adequately informed the jury that,


             4 The footnote pattern jury instruction requested by the defendant in Galaviz-Torres

       and the footnote jury instruction requested by Defendant here both contained identical
       language.
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                    in order to convict defendant of the offenses with which he
                    had been charged, it must find beyond a reasonable doubt
                    that defendant actually knew that he had cocaine in his
                    possession.

       Id. at 49, 772 S.E.2d at 437.

¶ 62         After reviewing the relevant case law and the text of the requested footnote

       instruction, the Court ultimately concluded that the defendant was not entitled to

       the extra instruction because he had made a wholesale denial of any knowledge about

       the substances in his van. Id. The Court explained that the defendant might have

       been entitled to the extra instruction if he had simply denied knowledge “of the

       contents of the gift bag in which the cocaine was found,” or if he had alternatively

       admitted that he possessed a substance “while denying any knowledge of the

       substance’s identity.” Id. at 51, 772 S.E.2d at 438. However, the defendant in

       Galaviz-Torres did neither—“[i]nstead, defendant simply denied having had any

       knowledge that the van he was driving contained either the gift bag or cocaine.” Id.
       Thus, the Court concluded that,

                    [a]s a result, since defendant did not contend that he did
                    not know the true identity of what he possessed . . . the
                    prerequisite for giving the instruction in question simply
                    did not exist in this case. As a result, the trial court did not
                    err by failing to deliver the additional instruction
                    contained in [the requested footnote] in this case.

       Id.
¶ 63         We conclude that Galaviz-Torres is controlling in the present case. Here,
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       although Defendant himself did not testify at trial, Officer Peeler described the

       statements that Defendant made to him during his arrest. Officer Peeler testified at

       various points that Defendant “denied having any illegal substances on him”; that

       Defendant “constantly said that he didn’t know what none of it was”; and that

       Defendant “remained silent” when asked “who those substances belonged to.”

¶ 64         Here, as in Galaviz-Torres, Defendant’s statements to Officer Peeler amounted

       to a denial of any knowledge whatsoever that the vehicle he was driving contained

       drugs. Defendant never specifically denied knowledge of the contents of the cloth in

       which the drugs were wrapped, nor did he admit that the substances belonged to him

       while claiming ignorance of their identity. Accordingly, we similarly conclude that

       “the prerequisite for giving the instruction in question simply did not exist in this

       case.” Id. at 51, 772 S.E.2d at 438. Moreover, we note that defense counsel here was

       still allowed to explain to the jury during closing arguments that knowing possession

       was a required element of the offense, and that the instructions provided by the trial

       court required the State to prove that “the defendant knowingly possessed

       [substance]” and was “aware of its presence.” Accordingly, because the instructions

       provided by the trial court presented the law fairly and accurately to the jury, we find

       no error in the trial court’s use of the pattern jury instruction here.

                                       III.     Conclusion

¶ 65         The trial court properly denied Defendant’s motion to suppress evidence
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because Officer Peeler possessed probable cause to search the vehicle based on the

admissions of the passenger. The trial court committed no error in instructing the

jury that Cyclopropylfentanyl and N-ethylpentylone were controlled substances as a

matter of law. Defendant was not entitled to the special instruction on knowing

possession of a controlled substance because he did not meet the prerequisite required

to provide this instruction.

      NO ERROR.

      Judges COLLINS and GORE concur.
